                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF IOWA


 IN RE:                                                       Chapter 7 Bankruptcy
                                                               Case No. 24-00638
 KEVIN GEORGE SMITH
 and SARAH BETH SMITH,                                 MOTION TO APPROVE
                                                   COMPROMISE (CRAIG ABRAHAM –
               Debtors.                                ADVERSARY #24-09068)


       COMES NOW Trustee Renee Hanrahan, by and through her counsel, and in

support of this Motion respectfully states:

       1.     Before the filing of their Chapter 7 Petition, the Debtors has a preexisting

junior mortgage on their homestead (the “Junior Mortgage”) and granted a mortgage in

favor of Craig Abraham (who is related to the Debtors) in the amount of $160,000, relative

to their homestead in exchange for certain funds (the “Loan Proceeds”).

       2.     The Loan Proceeds were used solely for the purpose of obtaining a release of

the Junior Mortgage.

       3.     The Trustee posits the mortgage grant to Craig Abraham constituted an

avoidable transfer, within the meaning of 11 U.S.C. §548. As a result, the Trustee has filed

Adversary #24-09068 against Craig Abraham.

       4.     Craig Abraham and the Trustee via counsel have conferred, and the parties

have agreed to terms (the “Settlement”) providing that: (i) within 10 days of the Court’s

approval of this motion, Craig Abraham will pay the Estate cash in the amount of $22,500;

(ii) the Estate and the Trustee shall release Craig Abraham and the Debtors from any and all

actions arising under title 11 of the United States Code relative to the Debtor’s bankruptcy
case; and (iii) the Estate agrees that Craig Abraham shall be deemed to have an allowed

prepetition general unsecured, non-priority claim in the amount of $22,500.

       5.      Additionally, the Settlement shall not be considered an admission of liability

by Craig Abraham, nor is the Settlement an admission of the strength or weakness of the

Trustee’s pursuit of Adversary #24-09068. Rather, the Settlement is entered into solely on

the basis of the parties’ desire to resolve their dispute at least cost to either party, in the most

efficient and least time-consuming manner. By way of example, Craig Abraham raised

defenses of good faith and value, and indeed Craig Abraham vehemently asserts the Trustee

cannot sustain her burden of proof.

       6.      Given the dynamics of the parties’ litigation posture, and the parties’ desire to

promptly and efficiently settle their dispute, the Settlement as outlined herein is fair and

reasonable and should be approved.

       WHEREFORE, the Chapter 7 Trustee respectfully prays this Court on such notice

and hearing as it may direct, enter and enroll an Order granting the relief outlined in this

Motion, and authorizing and directing the settling parties to execute any and all documents

reasonably necessary to effectuate the Settlement, and for such other relief as may be just

and proper under the premises.

                                                     /s/ Eric W. Lam
                                              Eric W. Lam, AT0004416
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                                              ATTORNEY FOR TRUSTEE




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                                             Certificate of Service

       The undersigned certifies, under penalty of perjury, that on this 18th day of February,
2025, the foregoing document was electronically filed with the Clerk of Court using the U.S.
Bankruptcy Court, Northern District of Iowa CM/ECF and the document was served
electronically through the CM/ECF system to the parties of this case.

                                                      /s/ Kelly Carmichael

RHTE Smith/Pldgs/BA 24-00638/Drafts/Mtn to Compromise – Craig Abraham.021725.1444.kc




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